

Matter of Whitney v Whitney (2017 NY Slip Op 07043)





Matter of Whitney v Whitney


2017 NY Slip Op 07043


Decided on October 6, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 6, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., CARNI, LINDLEY, TROUTMAN, AND WINSLOW, JJ.


1021 CAF 15-01465

[*1]IN THE MATTER OF MICHAEL G. WHITNEY, PETITIONER-APPELLANT,
vDENISE T. WHITNEY, RESPONDENT-RESPONDENT. (APPEAL NO. 2.)






LOVALLO &amp; WILLIAMS, BUFFALO (TIMOTHY R. LOVALLO OF COUNSEL), FOR PETITIONER-APPELLANT. 
DAVID S. SARKOVICS, ATTORNEY FOR THE CHILD, ORCHARD PARK. 


	Appeal from an order of the Family Court, Erie County (Michael F. Griffith, J.), entered August 6, 2015 in a proceeding pursuant to Family Court Act article 6. The order dismissed the petition alleging a violation of a prior order. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Whitney v Whitney ([appeal No. 3] ___ AD3d ___ [Oct. 6, 2017]).
Entered: October 6, 2017
Mark W. Bennett
Clerk of the Court








